          Case 25-16137-MBK                       Doc 1      Filed 06/10/25 Entered 06/10/25 00:18:25                             Desc Main
                                                            Document      Page 1 of 22
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                   New Jersey
 ____________________ District of _________________
                                        (State)
                           25-
 Case number (If known): _________________________          11
                                                   Chapter _____                                                                   # Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/25

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Powin, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 6 – ___
                                                       2 ___
                                                          2 ___
                                                             7 ___
                                                                0 ___
                                                                   5 ___
                                                                      0 ___
                                                                         4
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                              20550 SW 115th Ave
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                              Tualatin                    OR        97062
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              Washington
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                   https://powin.com
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
          Case 25-16137-MBK               Doc 1         Filed 06/10/25 Entered 06/10/25 00:18:25                             Desc Main
                                                       Document      Page 2 of 22
Debtor        Powin, LLC
              _______________________________________________________                                               25-
                                                                                           Case number (if known)_____________________________________
              Name




 6.   Type of debtor                    # Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        # Partnership (excluding LLP)
                                        # Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                        # Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        # Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        # Railroad (as defined in 11 U.S.C. § 101(44))
                                        # Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        # Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        # Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        # None of the above

                                        B. Check all that apply:

                                        # Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        # Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                        # Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          335910

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                    # Chapter 7
                                        # Chapter 9
                                        # Chapter 11. Check all that apply:
                                                      # Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $3,424,000 (amount subject to adjustment on
                                                             4/01/28 and every 3 years after that).
                                                         # The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                         #The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                             chooses to proceed under Subchapter V of Chapter 11.

                                                         # A plan is being filed with this petition.
                                                         # Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         # The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         # The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                        # Chapter 12
 9.   Were prior bankruptcy cases       # No
      filed by or against the debtor
      within the last 8 years?          # Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
         Case 25-16137-MBK                Doc 1       Filed 06/10/25 Entered 06/10/25 00:18:25                                Desc Main
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Debtor        Powin, LLC
              _______________________________________________________                                              25-
                                                                                           Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases           # No
     pending or being filed by a
     business partner or an             # Yes. Debtor See  Rider 1, attached.
                                                      _____________________________________________              Affiliate
                                                                                                    Relationship _________________________
     affiliate of the debtor?                               New Jersey
                                                  District _____________________________________________ When               __________________
     List all cases. If more than 1,                                                                                        MM / DD / YYYY
     attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this      Check all that apply:
     district?
                                        # Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                        # A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have        # No
     possession of any real             # Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                 # It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                 # It needs to be physically secured or protected from the weather.
                                                 # It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                 # Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______ ________________
                                                                           City                                            State ZIP Code


                                                 Is the property insured?
                                                 # No
                                                 # Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




             Statistical and administrative information



 13. Debtor’s estimation of             Check one:
     available funds                    # Funds will be available for distribution to unsecured creditors.
                                        # After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        # 1-49                           # 1,000-5,000                             # 25,001-50,000
 14. Estimated number of
                                        # 50-99                          # 5,001-10,000                            # 50,001-100,000
     creditors
                                        # 100-199                        # 10,001-25,000                           # More than 100,000
                                        # 200-999

 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor      Powin, LLC
            _______________________________________________________                                                       25-
                                                                                               Case number (if known)_____________________________________
            Name



                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 15. Estimated assets
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion

                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 16. Estimated liabilities
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                        06/09/2025
                                            Executed on _________________
                                                        MM / DD / YYYY


                                         "   _____________________________________________               Chad Paulson
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                   Authorized Signatory
                                            Title _________________________________________




 18. Signature of attorney
                                         " /s/ Frank A. Oswald
                                             _____________________________________________               Date         06/09/2025
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM    / DD / YYYY



                                            Frank A. Oswald
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Togut, Segal & Segal LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            550  Broad Street
                                            _________________________________________________________________________________________________
                                            Number     Street

                                            Newark
                                            ____________________________________________________             NJ
                                                                                                            ____________ 07102
                                                                                                                         ______________________________
                                            City                                                            State        ZIP Code

                                            (212) 594-5000
                                            ____________________________________                            frankoswald@teamtogut.com
                                                                                                            __________________________________________
                                            Contact phone                                                   Email address



                                             028681986
                                            ______________________________________________________  NJ
                                                                                                   ____________
                                            Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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       Fill in this information to identify the case:
  United States Bankruptcy Court for the:

                    District of New Jersey

                                      (State)                             ☐ Check if this is an
  Case number (if known):                                                   amended filing
                                                 Chapter 11



                                                Rider 1

     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
         On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”),
filed a petition in the United States Bankruptcy Court for the District of New Jersey for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint administration
of these cases under the case number assigned to the chapter 11 case of Powin, LLC.

                          DEBTOR NAME                                         EIN Number
          1.     Powin, LLC                                                   XX-XXXXXXX

          2.     PEOS Holdings, LLC                                            XX-XXXXXXX

          3.     Powin China Holdings 1, LLC                                   XX-XXXXXXX

          4.     Powin China Holdings 2, LLC                                   XX-XXXXXXX

          5.     Charger Holdings, LLC                                         XX-XXXXXXX

          6.     Powin Energy Ontario Storage, LLC                             XX-XXXXXXX

          7.     Powin Energy Operating Holdings, LLC                          XX-XXXXXXX

          8.     Powin Energy Operating, LLC                                   XX-XXXXXXX

          9.     Powin Project LLC                                             XX-XXXXXXX
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEW JERSEY

    In re:                                                         Chapter 11

    Powin, LLC et al.,1                                            Case No. ________

                            Debtors.                               (Joint Administration Requested)




                                           LIST OF EQUITY HOLDERS2

Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

               Equity Holder                       Address of Equity Holder                 Percentage of Equity Held
    Powin Energy Intermediate, LLC                  20550 SW 115 th Avenue                                100%
                                                      Tualatin, OR 97062




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number, are: (i)
Powin Project LLC [1583]; (ii) Powin, LLC [0504], (iii) PEOS Holdings, LLC [5476], (iv) Powin China Holdings 1, LLC [1422],
(v) Powin China Holdings 2, LLC [9713], (vi) Charger Holdings, LLC [15241], (vii) Powin Energy Ontario Storage, LLC [ 8348],
(viii) Powin Energy Operating Holdings, LLC [22495], and (ix) Powin Energy Operating, LLC [6487]. The Debtors’ mailing
address is 20550 SW 115th Avenue Tualatin, OR 97062.
2
  This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed indicate the record holder of such equity as of the date of commencement of the chapter 11
case.
Case 25-16137-MBK                  Doc 1       Filed 06/10/25 Entered 06/10/25 00:18:25                              Desc Main
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF NEW JERSEY

    In re:                                                         Chapter 11

    Powin, LLC, et al., 1                                          Case No. ________

                             Debtor.                               (Joint Administration Requested)




                                 CORPORATE OWNERSHIP STATEMENT

Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                         Shareholder                                    Approximate Percentage of Shares Held

          Powin Energy Intermediate, LLC                                                       100%




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number, are: (i)
Powin Project LLC [1583]; (ii) Powin, LLC [0504], (iii) PEOS Holdings, LLC [5476], (iv) Powin China Holdings 1, LLC [1422],
(v) Powin China Holdings 2, LLC [9713], (vi) Charger Holdings, LLC [15241], (vii) Powin Energy Ontario Storage, LLC [ 8348],
(viii) Powin Energy Operating Holdings, LLC [22495], and (ix) Powin Energy Operating, LLC [6487]. The Debtors’ mailing ad-
dress is 20550 SW 115th Avenue Tualatin, OR 97062.
               Case 25-16137-MBK                      Doc 1      Filed 06/10/25 Entered 06/10/25 00:18:25                                Desc Main
                                                                Document      Page 8 of 22
       Fill in this information to identify the case:




                                                                                                                                                Check if this is an
                                                                                                                                                amended filing
       Debtor name     Powin, LLC
       United States Bankruptcy Court for
       the:                                                            District of
                                                                                       (State)
       Case number (If known):    25-




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Consolidated Creditors Who Have the 50
 Largest      Unsecured      Claims       and        Are       Not     Insiders

 12/15

 A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50 largest
 unsecured claims.


     Name of creditor and                   Name, telephone number, and              Nature of the       Indicate if   Amount of unsecured claim
     complete mailing address,              email address of creditor contact        claim               claim is      If the claim is fully unsecured, fill in only
     including zip code                                                              (for example,       contingent,   unsecured claim amount. If claim is partially
                                                                                     trade debts, bank unliquidated,   secured, fill in total claim amount and
                                                                                     loans, professional or disputed   deduction for value of collateral or setoff to
                                                                                     services, and                     calculate unsecured claim.
                                                                                     government
                                                                                     contracts)                        Total claim, if Deduction Unsecured
                                                                                                                       partially       for value claim
                                                                                                                       secured         of
                                                                                                                                       collateral
                                                                                                                                       or setoff

        Ace Engineering & Co., Ltd.
                                            Telephone: (822) 578 0491
        80, Sapyong-daero,
1.                                          Email: chloe@acecontainer.com                   Trade                                                     $100,104,820.79
        Seocho-gu
        Seoul 06575
        Republic of Korea

        Qingdao CIMC-POWIN New
        Energy Technology Co., Ltd
        No.1 Huanghedong Road,
                                            Telephone: +86 532 8676 7675                Contract
2.      China (Shandong)                                                                                  Disputed                                    $49,068,210.40
                                            Email: info@cimc-powin.com                 Manufacturer
        Pilot Free Trade Zone,
        Qingdao, P.R.
        Qingdao 266500
        China

        Contemporary Amperex
        Technology Co., Limited
                                            Telephone: '+86 181 5087 9959
        (CATL)                                                                          Subsidiary/
                                            Email: RuanTF@catlbattery.com
3.      No.2 Xingang Road                                                              Powin Owned          CUD                                       $44,000,000.00
        Zhangwan Town, Jiaocheng                                                          Entity
        District, Ningde City,
        Fujian 352100
        China

        Celestica LLC
                                            Telephone: (416) 448-5800
        11 Continental Blvd                                                             Contract
4.                                          Email: petem@celestica.com                                    Disputed                                    $16,748,929.57
        BLD 300                                                                        Manufacturer
        Suite 103
        Merrimack NH 03054
 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   Page 1
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Debtor:        Powin, LLC
                                                         Document      Page 9 of 22Case number (if known) 25-                       _
               Name



                                    Telephone: (713) 714-0762
      Clean Energy Services CES
                                    Email:
      LLC                                                                   Professional
5.                                  accounts.receivable@cesrenewables.                       Unliquidated                               $10,107,691.13
      4201 Main Street                                                        Services
                                    com
      Suite 299
      Houston, TX 77002

      Formosa Electronic
                                    Telephone: +886 2 2218 8888
      Industries Inc.
                                    Email:
      5F., NO8, Aly.130, Minquan                                            Contract
6.                                  kelvin.chen@feii.com.tw;flora.zhang                       Disputed                                  $9,180,133.58
      Rd., Xindian Dist.,                                                  Manufacturer
                                    @feii.com.tw
      New Taipei City 231,
      Taibei 23141
      Taiwan

      Rubicon Professional
                                    Telephone: (770) 726-8975
      Services, LLC
7.                                  Email: accounting@rubiconps.com       EPC / Contractor                                              $8,453,344.50
      3370 Chastain Gardens
      Drive Suite 220
      Kennesaw, GA 30144
                                    Telephone: (916) 625-0870
      SMA America, LLC
                                    Email: ordermgmt@sma-                   Contract
8.    3925 Atherton Road                                                                      Disputed                                  $8,370,089.83
                                    america.com                            Manufacturer
      Rocklin, CA 95677


      Mainfreight Air & Ocean Pty
                                    Telephone: +61 (3) 9330 6000
      Ltd                                                                                                                   Collateral
                                    Email:                                                                                             Collateral Amount
9.    154 Melrose Drive                                                      Logistics        Disputed      $6,696,844.71    Amount
                                    lorraine.govender@mainfreight.com                                                                      Unknown
      Tullamarine                                                                                                           Unknown
      Melbourne VIC 3043
      Australia

      JMS Wind Energy, Inc.         Telephone: (541) 483-0920
                                                                            Professional
10.   8022 S Rainbow Blvd           Email: julie@jmswindenergy.com                           Unliquidated                               $6,033.105.56
                                                                              Services
      Ste 406
      Las Vegas, NV 89139

      Experience Knowledge
      Strategy, S.L.                Telephone: 0034954181521
                                                                           Purchase/Sale
11.   AVDA. CAMAS 26                Email: fronquillo@eksenergy.com                                                                     $5,777,376.95
                                                                            Agreement
      Bollullos De La Mitacion
      Seville 41110
      Spain

      EBARA Densan (Qingdao)
      Technology Co.,Ltd.
                                Telephone: 053289653367628
      No.216, Shuangyuan Road,                                              Contract
12.                             Email: dong.jiakun@edq-ebara.com                                                                        $5,297,762.07
      Chengyang District,                                                  Manufacturer
      Qingdao Shandong Province
      266111
      China

      KPMG LLP                      Telephone: (503) 820-6809
                                                                            Professional
13.   3 Chestnut Ridge Road         Email: us-bkrdasc-ar@kpmg.com                                                                       $4,586,591.27
                                                                              Services
      Montvale, NJ 07645


      Contemporary Nebula
      Technology Energy Co., Ltd.   Telephone: 8615924148801
                                                                            Contract
14.   No. 33 Xingyexi Road          Email: xuezhen.lin@cntepower.com                                                                    $4,252,505.17
                                                                           Manufacturer
      Mawei District
      Fuzhou City Fujian Province
      China
                                    Telephone: (580) 68‑9534
      GreEnergy Resources
                                    Email:                                  Professional
15.   108 Michelin Road                                                                      Unliquidated                               $3,522,202.06
                                    adam.fenner@greenergyresources.c          Services
      Ardmore, OK 73401
                                    om




 Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 2
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Debtor:        Powin, LLC
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               Name



      R.H. Shipping & Chartering S
      De RL De CV
      Av. Paseo De La Reforma
                                   Telephone: +52 (55) 1328 4301
      No. 222 Piso 15
16.                                Email: cobranza@rh-shipping.com         Logistics                                                $3,359,111.72
      Col. Juarez Alcaldia
      Cuauhtemoc
      Ciudad De Mexico
      C.P. Cam 06600
      Mexico

      Qingdao CIMC Container
      Manufacture Co., Ltd
                                     Telephone: +86‑532‑8693‑5961
      No.1, east Huanghe Road                                             Contract
17.                                  Email: yanfeng.yang@cimc.com                           Disputed                                $3,265,143.29
      Economic & Technological                                           Manufacturer
      Development ZonE
      Qingdao
      China

      Ultra Corpotech Private
      Limited
      Plot No-Pap-A-4 Chakan
      Industrial Area Phase IV       Telephone: 919922929251
18.   Village Nighoje Opp M & M      Email: vgoykar@ultracorpotech.com    Trade Debt                                                $3,215,744.53
      Gate No- 3 Tal-Khed
      Talwade Chakan Road
      Pune
      Maharashtra 410501
      India
                                     Telephone: (615) 751-3322
      Envision AESC US LLC
                                     Email: ken.srebnik@envision-
19.   500 Battery Plant Road                                              Trade Debt                                                $2,901,664.21
                                     aesc.com
      Smyrna, TN 37167

      Pearce Services, LLC           Telephone: (805) 467-2528
      1222 Vine Street               Email: essnotifications@pearce-      Professional
20.                                                                                                                                 $2,671,092.90
      Suite 301                      renewables.com                         Services
      Paso Robles, CA 93446

      Spark Power Renewables         Telephone: (833) 775-7697
                                                                          Professional
21.   USA, Inc                       Email: AR@sparkpowercorp.com                                                                   $2,486,017.08
                                                                            Services
      4900 Diplomacy Road
      Fort Worth, TX 76155

      Sonic Systems International,
                                     Telephone: (281) 531-7611
      LLC                                                                 Professional
22.                                  Email: ablock@sonicsystems.com                                                                 $2,390,368.05
      1880 South Dairy Ashford                                              Services
      Suite 207
      Houston, TX 77077
                                     Telephone:
      McKinsey & Company, Inc.
                                     Email: US_AR@mckinsey.com;
      United States
                                     mailto:info@mckinsey.com
      175 Greenwich Street                                                Professional
23.                                                                                                                                 $1,600,000.00
      3 World Trade Center                                                  Services
      FL 60-64
      New York, NY 10007

      Bergstrom (Changzhou) Heat
      Exchangers Co., Ltd        Telephone: 8651968008000
24.   28 AoYuan Road New         Email: SShi@bergstrominc.com             Trade Debt                                                $1,269,530.40
      District
      Changzhou, Jiangsu
      China, 213125

      Weifang Genius Electronics
      Co., Ltd.
                                     Telephone: (756) 400-6201
      No. 37 Fangtai Road
25.                                  Email: daisy.yang@genius-gp.com      Trade Debt                                                $1,239,871.72
      Fangzi District
      Weifang City Shandong
      Province 261206
      China


 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                  Page 3
            Case 25-16137-MBK                   Doc 1      Filed 06/10/25 Entered 06/10/25 00:18:25                      Desc Main
Debtor:        Powin, LLC
                                                          Document     Page 11 of 22
                                                                                   Case number (if known) 25-                 _
               Name



      Ashbaugh Energy Consulting
                                 Telephone: (905) 871-8000
      530 Lakeside Road                                                     Professional
26.                              Email: ashbaughenergy@gmail.com                           Unliquidated                           $1,222,341.87
      Fort Erie ON L2A 4Y1                                                    Services
      Canada

      Shanghai Hdmann Industry
      Co., Ltd                       Telephone: 862133735789
27.   Room 1-912                     Email: F5@hdmann.com                    Trade Debt                                           $1,093,534.82
      No388 Xinfu Rd.
      Shanghai 201100
      China

      Crowe LLP                      Telephone: (972) 365-3437
                                                                            Professional
28.   320 E Jefferson Blvd.          Email: arremitadv@crowe.com                                                                  $1,011,288.00
                                                                              Services
      P.O. Box 7
      South Bend, IN 46624-0007
                                     Name: Erica Khourjian
      Orr Protection Systems, Inc.   Telephone: (502) 244-4500               Subsidiary/
29.   2100 Nelson Miller Pkwy        Email:                                 Powin Owned                                           $994,923.44
      Louisville, KY 40223           opsaccounting@orrprotection.com           Entity


      Miller Nash Graham             Telephone: (503) 224‑5858
                                                                            Professional
30.   & Dunn LLP                     Email: clientservices@millernash.com                                                         $889,356.21
                                                                              Services
      PO Box 3585
      Portland, OR 97208
                                     Telephone: (717) 664-0500
      Carel USA, INC                 Email:
31.   385 S Oak Street               accounts.receivable_usa@carel.com       Trade Debt                                           $787,295.95
      Manheim, PA 17545


      Propeller Inc
                                     Telephone: (919) 699-0137              Professional
32.   PO Box 6860                                                                                                                 $783,792.00
                                     Email: lvillarreal@propellerpdx.com      Services
      Portland, OR 97228

                                     Telephone: (908) 526-8000
      Specified Technologies Inc.
                                     Email: AR@stifirestop.com
33.   210 Evans Way                                                          Trade Debt                                           $777,062.30
      Somerville, NJ 08876

                                     Telephone: (608) 735-4800
      Building Automation            Email:
34.   Products, Inc.                 Accountsreceivable@bapisensors.co       Trade Debt                                           $580,730.40
      750 N. Royal Ave.              m
      Gays Mills, WI 54631
      Schneider Electric IT          Telephone: (401) 789-5735
      Corporation                    Email:
                                                                            Professional
35.   5081 Collections Center        SEITUSACASH.APPLICATIONTEAM                                                                  $568,116.85
                                                                              Services
      Drive                          @schneider-electric.com
      Chicago, IL 60693-5081

      RH Shipping & Chartering       Telephone: +52 33 8851 3180 ext.
      (USA) LLC                      1408                                   Professional
36.                                                                                                                               $544,832.81
      400 N Sam Houston Pkwy         Email: mplascencia@rh-shipping.com       Services
      East, Suite 1010
      Houston, TX 77060

      Mainz Brady Group, Inc.        Telephone: +1 650‑524‑8840
                                                                            Professional
37.   PO Box 620375                  Email: accounting@mbg.com                                                                    $500,900.41
                                                                              Services
      Woodside, CA 94062

      McGuireWoods Consulting        Telephone: (804) 775‑1000
      LLP                            Email:                                 Professional
38.                                                                                                                               $483,585.30
      800 East Canal Street          artaskforce@mcguirewoods.com             Services
      Richmond, VA 23219
                                     Telephone: 1‑800‑888‑4949
      CEVA Logistics US, Inc.        Email:
                                                                            Professional
39.   15350 Vickery Drive            juanfernando.aguilar@cevalogistics.c                                                         $469,350.66
                                                                              Services
      Houston, TX 77032              om




 Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                  Page 4
             Case 25-16137-MBK                Doc 1      Filed 06/10/25 Entered 06/10/25 00:18:25                         Desc Main
Debtor:        Powin, LLC
                                                        Document     Page 12 of 22
                                                                                 Case number (if known) 25-                    _
               Name



      SIBA LLC                      Telephone: (973) 575-7422
40.   29 Fairfield Place            Email: info@sibafuse.com              Trade Debt     Unliquidated                              $420,987.58
      Caldwell, NJ 07006

      GLAS USA LLC                  Telephone: (212) 808‑3050
      3 Second Street               Email:
41.                                                                       Bank Loans     Unliquidated                              $416,230.74
      Suite 206                     clientservices.americas@glas.agency
      Jersey City, NJ 07311

      Expeditors International of   Telephone: (503) 863-2678
                                                                          Professional
42.   Washington, Inc.              Email: remit@expeditors.com                          Unliquidated                              $409,327.29
                                                                            Services
      1015 Third Avenue
      Seattle, WA 98104

      Huizhou Topband Electrical
      Technology Co., LTD
      No. 113 Dongxin AVE,          Telephone: 8675527651888
                                                                           Contract
43.   Dongxin Block Dongjiang       Email: wuxr@topband.com.cn                           Unliquidated                              $405,884.78
                                                                          Manufacturer
      Hi-Tech Industrial Park,
      Zhongkai District Huizhou,
      Dongguang, 516006
      China

      Build AppliedLogix, LLC       Telephone: (585) 678-1027
44.   3495 Winton Place,            Email: tduffy@appliedlogix.com        Trade Debt     Unliquidated                              $400,756.56
      Building C Suite 2
      Rochester, NY 14623
      8LOOP Logistics LLC           Telephone: (909) 671-9537
      9432 Bradmore Lane            Email:
45.                                                                         Logistics    Unliquidated                              $384,949.17
      Suite 204                     accounting@8looplogistics.com
      Ooltewah, TN 37363

      Onshape A PTC Business        Telephone: (650) 513-3500
                                                                          Professional
46.   121 Seaport Boulevard         Email: ar-credit@ptc.com                             Unliquidated                              $377,301.71
                                                                            Services
      Boston, MA 0221

      c3controls                    Telephone: (724) 775-7926
                                                                          Professional
47.   664 State Street              Email: accounting@c3controls.com                     Unliquidated                              $334,488.64
                                                                            Services
      Beaver, PA 15009

      Tech Heads Inc.               Telephone: (503) 639-8542
                                                                          Professional
48.   7070 SW Fir Loop              Email: info@techheads.com                            Unliquidated                              $320,155.17
                                                                            Services
      Portland, OR 97223

      Kentec Electronics Limited
                                    Telephone: +44 1322 222121
      25 & 26 Fawkes Avenue,
                                    Email sales@kentec.co.uk
49.   Questor                                                             Trade Debt                                               $304,071.97
      Dartford Kent DA1 1JQ
      United Kingdom
      KELLER'S INC                  Contact: Paul Tiso
      6750 Gordon Road              Telephone: (910) 392-7011
50.                                                                       Trade Debt                                               $278,208.23
      Wilmington NC 28411           Email bdixon@kellersinc.com
      United States




 Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                 Page 5
         Case 25-16137-MBK                    Doc 1      Filed 06/10/25 Entered 06/10/25 00:18:25                               Desc Main
                                                        Document     Page 13 of 22
 Fill in this information to identify the case and this filing:


 Debtor Name Powin, LLC
             __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of New
                                                                            __________
                                                                                Jersey
                                                                               (State)
 Case number (If known):     25-
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         # Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         # Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         # Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         # Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         # Schedule H: Codebtors (Official Form 206H)
         # Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         # Amended Schedule ____

         #
         X Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         #
         X Other document that requires a declaration__________________________________________________________________________________
                                                      List of Equity Security Holders and Corporate Ownership Statement




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/09/2025
        Executed on ______________                         "   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Chad Paulson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                          RESOLUTIONS OF THE SOLE MANAGER
                                         OF
                                    POWIN, LLC

                                          June 9, 2025

        The undersigned, being the sole manager (the “Manager”) of Powin, LLC, a Delaware
limited liability company (the “Company”), hereby adopts the following resolutions as of the
date stated above:

A.      Appointment of Chief Executive Officer:

               WHEREAS, the Manager has determined, in the good-faith exercise of its
        reasonable business judgment, that it is desirable and in the best interests of the
        Company, and its creditors, shareholders, employees, and other interested parties, to
        appoint a new Chief Executive Officer (“CEO”) following the resignation of the prior
        CEO to assist with management and operation of the Company; and

              WHEREAS, the Manager has evaluated the capabilities of several candidates for
        the CEO appointment, and is prepared to make an appointment.

               NOW, THEREFORE, BE IT RESOLVED, that effective as of the date hereof, the
        Manager hereby appoints and promotes Brian Kane from the Company’s Chief Projects
        Officer to the new CEO for the Company;

               BE IT FURTHER RESOLVED, that the rate of pay for the new CEO shall be the
        same as the rate of pay of the immediately preceding CEO, and the Company be, and it
        hereby is, authorized and directed to pay all fees and expenses incurred in connection
        with the appointment of the new CEO;

                BE IT FURTHER RESOLVED, that the officers of the Company, including,
        without limitation, the CRO, CEO, the General Counsel and the Chief Restructuring
        Officer (each an “Authorized Officer” and together the “Authorized Officers”) are, and
        each of them hereby is, authorized and directed, on behalf of and in the name of the
        Company, to take or cause to be taken any and all such other and further actions, and to
        execute, acknowledge, deliver, and file any and all such instruments as they, in their
        discretion, may deem necessary or advisable in order to carry out the purpose and intent
        of the foregoing resolutions; and

                BE IT FURTHER RESOLVED, that all of the acts and transactions relating to
        matters contemplated by the foregoing resolutions of the Company’s management,
        advisors and the Manager, in the name and on behalf of the Company, which acts would
        have been approved by the foregoing resolutions except that such acts were taken prior to
        the execution of these resolutions, are hereby in all respects confirmed, approved and
        ratified.




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B.      Chapter 11 Case:

              WHEREAS, the Manager has considered the financial and operational aspects of
        the Company’s business and the recommendations of the senior management of the
        Company and the Company’s professionals and advisors;

                 WHEREAS, the Manager has reviewed the historical performance of the
        Company, the market for the Company’s services, and the current and long-term
        liabilities of the Company; and

               WHEREAS, the Manager has reviewed, considered, and received the
        recommendations of the senior management of the Company and the Company’s
        professionals and advisors as to a case of the Company under chapter 11 of title 11 of the
        United States Code, §§ 101 et seq. (the “Bankruptcy Code”).

                NOW, THEREFORE, BE IT RESOLVED, that the Manager has determined, in
        the good-faith exercise of its reasonable business judgment, that it is desirable and in the
        best interests of the Company, and its creditors, shareholders, employees, and other
        interested parties, for the Company to file a voluntary petition under the provisions of
        chapter 11 the Bankruptcy Code and to take any related actions necessary to file for and
        effectuate bankruptcy protection and to take other actions in a bankruptcy case;

               BE IT FURTHER RESOLVED, that the Authorized Officers of the Company are,
        and each of them hereby is, authorized and directed, on behalf of and in the name of the
        Company, to take all actions deemed necessary or appropriate to protect the assets of the
        Company and seek protection from creditors, including without limitation, if they deem it
        appropriate, to execute and verify or certify a voluntary petition under chapter 11 of the
        Bankruptcy Code and to sign or authorize any and all other pleadings, petitions, motions,
        schedules, lists, applications, affidavits, instruments, documents, or actions appropriate
        and desirable, as determined by them in the exercise of their discretion, prior to and
        throughout the course of the bankruptcy case and to take and perform any and all further
        acts and deeds, and pay such fees, that they deem necessary, proper or desirable in
        connection therewith or in furtherance of any such petition or the Company’s case in
        chapter 11 of the Bankruptcy Code;

                BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to
        take or cause to be taken any and all such other and further actions, and to execute,
        acknowledge, deliver and file any and all such instruments, and pay such fees, as they, in
        their discretion, may deem necessary or advisable in order to carry out the purpose and
        intent of the foregoing resolutions; and

               BE IT FURTHER RESOLVED, that all of the acts and transactions relating to
        matters contemplated by the foregoing resolutions of the Company’s management,
        advisors and the Manager, in the name and on behalf of the Company, which acts would
        have been approved by the foregoing resolutions except that such acts were taken prior to



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        the execution of these resolutions, are hereby in all respects confirmed, approved and
        ratified.

C.      Retention of Advisors:

                WHEREAS, the Manager has determined, in the good-faith exercise of its
        reasonable business judgment, that it is desirable and in the best interests of the
        Company, and its creditors, shareholders, employees, and other interested parties to
        employ the law firm of Dentons US, LLP as general bankruptcy counsel to the Company
        to represent and assist the Company in carrying out its duties under the Bankruptcy Code,
        and to take any and all actions to advance the Company’s rights, including filing and
        pleading, and in connection therewith, the Company is hereby authorized and directed to
        execute appropriate retention agreements, pay appropriate retainers prior to and
        immediately upon the filing of the chapter 11 case, and to cause to be filed an appropriate
        application for authority to retain the services of Dentons US, LLP;

                WHEREAS, the Manager has determined, in the good-faith exercise of its
        reasonable business judgment, that is desirable and in the best interests of the Company
        and its creditors, shareholders, employees, and other interested parties to engage Togut,
        Segal & Segal LLP as conflict and efficiency counsel for the Company in connection
        with the chapter 11 case, subject to bankruptcy court approval;

                WHEREAS, the Manager has determined, in the good-faith exercise of its
        reasonable business judgment, that it is desirable and in the best interests of the Company
        and its creditors, shareholders, employees, and other interested parties to engage Huron
        Transaction Advisory LLC as investment banker for the Company in connection with the
        chapter 11 case, subject to bankruptcy court approval; and

               WHEREAS, the Manager has determined, in the good-faith exercise of its
        reasonable business judgment, that is desirable and in the best interests of the Company
        and its creditors, shareholders, employees, and other interested parties to engage
        Kurtzman Carson Consultants LLC as claims agent for the Company in connection with
        the chapter 11 case, subject to bankruptcy court approval.

               NOW, THEREFORE, BE IT RESOLVED, that the Authorized Officers are, and
        each of them hereby is, authorized and directed, on behalf of and in the name of the
        Company, to engage Dentons US LLP as general bankruptcy counsel for the Company in
        connection with the chapter 11 case, subject to bankruptcy court approval;

                BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company,
        authorized and directed to engage Togut, Segal & Segal LLP as conflict and efficiency
        counsel for the Company in connection with the chapter 11 case, subject to bankruptcy
        court approval;

               BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to


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        engage Huron Transaction Advisory LLC as investment banker for the Company in
        connection with the chapter 11 case, subject to bankruptcy court approval;

               BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company,
        authorized and directed to engage Kurtzman Carson Consultants LLC as claims agent for
        the Company in connection with the chapter 11 case, subject to bankruptcy court
        approval;

               BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to
        employ additional professionals as the Authorized Officers, in their reasonable discretion
        deem necessary to represent and assist the Company in carrying out its duties under the
        Bankruptcy Code or to carry out the purpose and intent of the foregoing resolutions;

                BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to
        execute appropriate retention agreements, pay appropriate retainers prior to and
        immediately upon the filing of the chapter 11 case, and to cause to be filed an appropriate
        application for authority to retain the services of any additional professional;

               BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to
        engage and retain all assistance by legal counsel, accountants, investment banking
        advisors, financial advisors, and other professionals, subject to bankruptcy court
        approval, and to perform any and all further acts and deeds that the Authorized Officers
        deem necessary, proper, advisable, or desirable in furtherance thereof with a view to the
        successful prosecution of the Company’s chapter 11 case;

               BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to
        take or cause to be taken any and all such other and further actions, and to execute,
        acknowledge, deliver and file any and all such instruments as they, in their discretion,
        may deem necessary or advisable in order to carry out the purpose and intent of the
        foregoing resolutions; and

                BE IT FURTHER RESOLVED, that all of the acts and transactions relating to
        matters contemplated by the foregoing resolutions of the Company’s management,
        advisors and the Manager, in the name and on behalf of the Company, which acts would
        have been approved by the foregoing resolutions except that such acts were taken prior to
        the execution of these resolutions, are hereby in all respects confirmed, approved and
        ratified.

D.      Use of Cash Collateral:

               WHEREAS, the Manager has determined, in the good-faith exercise of its
        reasonable business judgment, that it is desirable and in the best interests of the
        Company, and its creditors, shareholders, employees, and other interested parties, to

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        approve the use of cash collateral by the Company in the post-petition conduct of its
        business in accordance with any related orders of the bankruptcy court (the “Cash
        Collateral Use”).

               NOW, THEREFORE, BE IT RESOLVED, that the Cash Collateral Use is hereby
        adopted, approved and ratified in all respects, subject to bankruptcy court approval;

               BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company to
        do or cause to be done all such acts and things, and to take all actions deemed necessary
        or appropriate, to cause the bankruptcy court’s approval of the Cash Collateral Use;

               BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to
        take or cause to be taken any and all such other and further actions, and to execute,
        acknowledge, deliver and file any and all such instruments as they, in their discretion,
        may deem necessary or advisable in order to carry out the purpose and intent of the
        foregoing resolutions; and

                BE IT FURTHER RESOLVED, that all of the acts and transactions relating to
        matters contemplated by the foregoing resolutions of the Company’s management,
        advisors and the Manager, in the name and on behalf of the Company, which acts would
        have been approved by the foregoing resolutions except that such acts were taken prior to
        the execution of these resolutions, are hereby in all respects confirmed, approved and
        ratified.

E.      Forbearance and Support Agreement:

                WHEREAS, the Manager has determined, in the good-faith exercise of its
        reasonable business judgment, that it is desirable and in the best interests of the
        Company, and each of the Company’s creditors, shareholders, employees, and other
        interested parties, to enter into that certain Forbearance, Support and Joinder Agreement,
        with Powin Energy Intermediate, LLC, Powin Project, LLC, the subsidiary guarantors
        party thereto and GLAS USA LLC (the “Forbearance Agreement”); and

                WHEREAS, all capitalized terms used herein but not otherwise defined herein
        shall have the meanings given to them in the Forbearance Agreement.

               NOW, THEREFORE, BE IT RESOLVED, that the Forbearance Agreement and
        the Loan Documents be, and they hereby are, authorized and approved in all respects;

                BE IT FURTHER RESOLVED, that Authorized Officers are, and each of them
        hereby is, authorized and directed, on behalf of and in the name of the Company, to take
        such actions as he or she may deem, in his or her sole discretion, to be necessary,
        appropriate, or advisable for the purpose of consummating the transactions contemplated
        by the Forbearance Agreement and the Loan Documents, and effectuation and carrying
        out the intents and purposes of these resolutions, including, without limitation, paying all
        fees and expenses in accordance with the terms of the Forbearance Agreement or the

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        Loan Documents, negotiating, executing, delivering, and performing, or causing the
        same, on behalf of the Company, the Loan Documents and any other agreements,
        amendments, instruments, financing statements, documents, notices, and certificates
        contemplated by or under the Forbearance Agreement or the Loan Documents;

                BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to
        assign, transfer, pledge and grant liens and security interests in all or substantially all of
        the Company’s assets, including intellectual property, inventory, chattel paper, accounts,
        equipment and general intangibles, as contemplated by the Forbearance Agreement or the
        Loan Documents, and the Authorized Officers of the Company are hereby authorized and
        directed, for and on behalf of the Company, to take such actions as he or she may deem,
        in his or her sole discretion, to be necessary, appropriate, or advisable for the purpose of
        granting or perfecting such liens and security interests;

               BE IT FURTHER RESOLVED, the Authorized Officers are, and each of them
        hereby is, authorized and directed, on behalf of and in the name of the Company, to take
        or cause to be taken any and all such other and further actions, and to execute,
        acknowledge, deliver, and file any and all such instruments as they, in their discretion,
        may deem necessary or advisable in order to carry out the purpose and intent of the
        foregoing resolutions; and

               BE IT FURTHER RESOLVED, that all of the acts and transactions relating to
        matters contemplated by the foregoing resolutions of the Company’s management,
        advisors, the Authorized Officers and the Manager, in the name and on behalf of the
        Company, which acts would have been approved by the foregoing resolutions except that
        such acts were taken prior to the execution of these resolutions, are hereby in all respects
        confirmed, approved and ratified.

                   [SIGNATURES BEGIN ON THE FOLLOWING PAGE]




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                IN WITNESS WHEREOF, the undersigned Manager has signed these resolutions
as of the date first written above.



                                                       MANAGER:




                                                       John Brecker




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                          RESOLUTIONS OF THE SOLE MANAGER
                                         OF
                                    POWIN, LLC

                                            June 9, 2025

        The undersigned, constituting the sole manager (the “Manager”) of Powin, LLC, a
Delaware limited liability company (the “Company”), hereby adopts the following resolutions as
of the date stated above:

                WHEREAS, the Manager has determined, in the good-faith exercise of its
        reasonable business judgment, that it is desirable and in the best interests of the Company
        and its creditors, shareholders, employees, and other interested parties to engage Uzzi &
        Lall as an advisor to the Company (with such advisory services to include, without
        limitation, making Gerard Uzzi available to the Company as a Chief Restructuring
        Officer), in connection with a potential chapter 11 bankruptcy case, subject to bankruptcy
        court approval (the “Engagement”).

                NOW, THEREFORE, BE IT RESOLVED, that the Engagement is adopted,
        approved and ratified, and the officers of the Company, including, without limitation, the
        Chief Executive Officer and the General Counsel (each an “Authorized Officer” and
        together the “Authorized Officers”) are, and each of them hereby is, authorized and
        directed, on behalf of and in the name of the Company, to engage Uzzi & Lall as an
        Advisor to the Company in connection with a potential chapter 11 bankruptcy case,
        subject to bankruptcy court approval;

                BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to
        take or cause to be taken any and all such other and further actions, and to execute
        appropriate retention agreements, pay appropriate retainers prior to and immediately
        upon the filing of a chapter 11 case, and to cause to be filed an appropriate application for
        authority to retain the services of Uzzi & Lall;

                BE IT FURTHER RESOLVED, that the Authorized Officers are, and each of
        them hereby is, authorized and directed, on behalf of and in the name of the Company, to
        take or cause to be taken any and all such other and further actions, and to execute,
        acknowledge, deliver and file any and all such instruments as they, in their discretion,
        may deem necessary or advisable in order to carry out the purpose and intent of the
        foregoing resolutions; and

                BE IT FURTHER RESOLVED, that all of the acts and transactions relating to
        matters contemplated by the foregoing resolutions of the Company’s management,
        advisors and the Manager, in the name and on behalf of the Company, which acts would
        have been approved by the foregoing resolutions except that such acts were taken prior to
        the execution of these resolutions, are hereby in all respects confirmed, approved and
        ratified.




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        IN WITNESS WHEREOF, the undersigned Manager has signed these resolutions as of the
date first written above.



                                                       MANAGER:




                                                       John Brecker




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